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                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                RALEIGH DIVISION

 IN RE:                                                     CHAPTER 7

 McCOWAN, RODNEY ALLEN,                                     CASE NO. 09-10347-8-SWH

        Debtor.

                  TRUSTEE’S MOTION TO REVOKE ABANDONMENT
                              OF REAL PROPERTY

         NOW COMES Gregory B. Crampton, Chapter 7 Trustee in the above-captioned case
 (“Trustee”), by and through undersigned, and hereby moves the Court, pursuant to 11 U.S.C.
 § 105, Rule 60 of the Federal Rules of Civil Procedure (specifically including, without
 limitation, Rule 60(b)(6)), and the inherent powers of the Court, for an Order revoking the
 Trustee’s abandonment of certain real property owned by the Debtor known as 1211 Champions
 Pointe Drive, Durham, North Carolina 27715. In support thereof, the Trustee shows the Court as
 follows:

       1.       Rodney Allen McCowan (the “Debtor”) filed a voluntary petition for relief under
 Chapter 11 of the Bankruptcy Code on November 30, 2009, and the case was converted to
 Chapter 7 on August 4, 2010.

       2.      Gregory B. Crampton was appointed as Trustee of the Debtor’s Chapter 7
 bankruptcy case by Order entered August 10, 2010.

        3.      On February 16, 2011, the Court entered a Final Decree and the case was closed
 and the Trustee was discharged from his duties as Trustee.

         4.     On September 13, 2017, the Court entered an Order Reopening Case pursuant to
 § 350(b) of the Bankruptcy Code, and the Trustee was reappointed as Chapter 7 Trustee and is
 qualified and now acting as such Trustee. A copy of the September 13, 2017 Order Reopening
 Case is attached hereto as Exhibit “A” and fully incorporated herein by reference.

         5.      On “Schedule A - Real Property” filed with the Court on December 21, 2009, the
 Debtor listed 1211 Champions Point Drive, Durham, North Carolina 27715 (the “Real Property”)
 as an asset with a value of $90,000.00. The Debtor’s Schedule A also stated that the Real
 Property secured a $272,604.00 debt owed by the Debtor.

        6.      On “Schedule D - Creditors Holding Secured Claims” filed with the Court on
 December 21, 2009, the Debtor listed Bank of America, N.A. (“Bank of America”) as having a
 secured claim in the Real Property in the amount of $268,121.00 with the nature of the lien being
 a primary mortgage. The Debtor’s Schedule D also stated that the Real Property had a value of
 $90,000.00.
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        7.     On March 1, 2010, the Debtor filed a Chapter 11 Plan and a Disclosure Statement.
 The Debtor’s Chapter 11 Plan created a separate class for the secured claim purportedly held by
 Bank of America, N.A. against the Debtor and the Real Property. In pertinent part, the Chapter
 11 Plan provided as follows:

                              “ARTICLE VIII
         TREATMENT OF ALLOWED SECURED CLAIMS OFBANK OF AMERICA
                          FOR CHAMPIONS POINT
                              (Class 4 Claims)

                8.1   Description of Classes. Class 4 is comprised of all Allowed
        Secured Claims of Bank of America Secured by the Debtor’s real property on
        Champion Point Drive (the “Champions Point Property”). Bank of America holds
        the primary mortgage in the approximate amount of $268,121.00. On February 2,
        2010, the Champions Point Property appraised for $248,000.00.

               8.2      Treatment of Claims. Confirmation of the Plan shall act as an
        abandonment of the Debtor’s interest in the Champions Point Property. The
        Debtor anticipates that Laurie Hayakawa, the co-owner and occupant of the
        property, will continue to pay this secured debt.

                8.3    Impairment Status. Class 4 Claims are impaired under the Plan.”


         8.    The Debtor’s Chapter 11 bankruptcy case was converted to one under Chapter 7
 of the Bankruptcy Code on August 4, 2010, and Mr. Crampton was appointed Chapter 7 Trustee
 on August 10, 2010.

         9.     On August 28, 2010, BAC Home Loans Servicing, LP fka Countrywide Home
 (“BAC”) filed Proof of Claim No. 13 with the Court in the amount of $288,121.37 (“BAC Proof
 of Claim”). The BAC Proof of Claim stated that the $288,121.37 claim amount was secured by
 the Real Property. The BAC Proof of Claim attached a Deed of Trust recorded on February 24,
 2003 in Book 3782, Page 649, Durham County Registry (“Deed of Trust”) as proof of the
 secured claim. The Deed of Trust described the Real Property as the collateral securing
 obligations owed by the Debtor to Bank of America, N.A. The BAC Proof of Claim also
 included as supporting documentation a Promissory Note dated February 21, 2003 executed by
 the Debtor in favor of Bank of America, N.A. in the amount of $292,820.97.

         10.      On January 28, 2011, the Chapter 7 Trustee filed a Notice of Trustee’s Intent to
 Abandon Property (Dkt. 123) (“Notice of Abandonment”) in which the Trustee provided notice
 of his intent to abandon the Real Property and stated as follows: “(Scheduled value $90,000,
 Debtor testified at 341 value $240,000 - $250,000; lienholders Bank of America, $268,121 and
 Durham County $4,483; no realizable value).” No objections to the Notice of Abandonment
 were filed and the Real Property was deemed abandoned.

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         11.     On information and belief, the prior representations and filings made by and on
 behalf of the Debtor and BAC regarding BAC’s purported security interest in the Real Property
 were incorrect. A Certificate of Satisfaction, together with an Affidavit of Lost Note, signed by
 Suzanne M. Haumesser, Senior Vice President of Bank of America, N.A. was recorded on June
 27, 2003 in Book 3970, Page 944, Durham County Registry, cancelling of record the Deed of
 Trust. The Affidavit of Lost Note accompanying the Certificate of Satisfaction provides that the
 Note or other indebtedness was lost and thus satisfied, thus requiring the recordation of the
 Certificate of Cancellation. A copy of the Certificate of Satisfaction and Affidavit of Lost Note
 is attached hereto as Exhibit “B”.

         12.    The Notice of Abandonment was in error and mistakenly filed by the Chapter 7
 Trustee based on his reliance on the representations that BAC held a perfected security interest in
 the Real Property made both (i) by the Debtor in his Schedules, filed under penalty of perjury,
 and in his proposed Plan of Reorganization, and (ii) by BAC in its filed Proof of Claim No. 13,
 submitted subject to the penalty for fraudulent claims pursuant to 18 U.S.C. §§ 152 and 3571.
 BAC did not have a perfected security interest in the Real Property and the Real Property should
 not have been abandoned.

        WHEREFORE, the Trustee respectfully requests that the Court:

        1.      Revoke the Chapter 7 Trustee’s prior abandonment of real property located at
 1211 Champions Point Drive, Durham, North Carolina 27715 so that such real property can be
 administered in the bankruptcy case; and

        2.      Grant such other relief as the Court deems just and proper.

        This the 29th day of September, 2017.
                                                      s/ Gregory B. Crampton
                                                      Gregory B. Crampton
                                                      State Bar No. 991
                                                      Steven C. Newton, II
                                                      State Bar No. 44656
                                                      NICHOLLS & CRAMPTON, P.A.
                                                      3700 Glenwood Avenue, Suite 500
                                                      Raleigh, North Carolina 27612
                                                      (919) 781-1311
                                                      Attorneys for the Trustee




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                                                    EXHIBIT "A"

   SO ORDERED.

  SIGNED this 13 day of September, 2017.


                                                        ___________________________________________
                                                                  Stephani W. Humrickhouse
                                                                United States Bankruptcy Judge

 _________________________________________________________________________


                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 RALEIGH DIVISION

   IN RE:                                                         CASE NO.

   RODNEY ALLEN MCCOWAN                                           09-10347-8-SWH
                                                                  CHAPTER 7
          DEBTOR

                                  ORDER REOPENING CASE

          The matter before the court is the Motion to Reopen Case and Stay State Court Proceedings
  filed by the chapter 7 debtor, Rodney Allen McCowan. A hearing took place in Raleigh, North
  Carolina on July 11, 2017.

         Mr. McCowan filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code
  on November 30, 2009. Mr. McCowan’s Schedule A listed as an asset his interest in real property
  located at 1211 Champions Pointe Drive, Durham, North Carolina 27715 (the “Property”) with a
  value of $90,000. Dkt. 20 at 3. Schedule A also indicated that the Property was occupied by Mr.
  McCowan’s former spouse. Mr. McCowan’s Schedule D identified a deed of trust on the Property
  held by Bank of America in the amount of $268,121. Dkt. 20 at 13.

         Mr. McCowan converted his case from chapter 11 to chapter 7 on August 4, 2010. Dkt. 98.
  When the case was converted, Gregory B. Crampton was appointed trustee. Dkt. 107. On January
  28, 2011, Mr. Crampton filed a Notice of Abandonment, indicating his intent to abandon all of Mr.
  McCowan’s scheduled real property, including the Property. Dkt. 123. With respect to the
  Property, the Notice of Abandonment provides as follows:

         Real property located at 1211 Champions Point Drive, Durham, NC 27712 (Scheduled
         value $90,000, Debtor testified at 341 value $240,000 - $250,000; lienholders Bank of
         America, $268,121 and Durham County $4,483; no realizable value).
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  Dkt. 123 at 1, ¶ 3. No objections were filed, and the Property was deemed abandoned. The Final
  Decree was entered on February 16, 2011, discharging the trustee and closing the case.1 Dkt. 128.

          On June 22, 2017, Mr. McCowan filed the Motion to Reopen, indicating that Bank of
  America had filed suit against Mr. McCowan in the North Carolina Superior Court in Durham
  County seeking a judgment against Mr. McCowan and an equitable lien on the Property.2 Dkt.
  129. While the facts have not been fully established, it appears that at the time Mr. McCowan filed
  his bankruptcy petition, Bank of America did not hold a perfected deed of trust on the Property.
  As of the date of the hearing, Mr. McCowan took the position that the bankruptcy case should be
  reopened so that the trustee could administer the Property as an asset of the estate. Bank of America
  maintained that once the Property was abandoned, it could not be “un-abandoned” and the
  bankruptcy estate has no interest in the Property.

           At the hearing, the court indicated that it would only reopen the case if it would not be
  futile to do so; that is, if the Property cannot be “un-abandoned” as a matter of law, then the motion
  would be disallowed. The court took the matter under advisement, but issued a stay of the pending
  state court proceeding in the interim. Dkt. 140. Thereafter, the parties requested the court to delay
  its ruling while they attempted to resolve the matter. The court held a status conference on August
  31, 2017, during which it became apparent that a decision on the motion to reopen remained
  necessary.

                                            DISCUSSION

          “Under § 350(b) of the Bankruptcy Code, there are three conditions in which the court can
  grant the reopening of a bankruptcy case: to administer assets; to accord relief to the debtor; and
  for other cause.” In re Parson, No. 01-73786-SCS, 2007 WL 3306678, *7 (Bankr. E.D. Va. Nov.
  6, 2007) (citing Huennekens v. Greene (In re Dove), 199 B.R. 342, 345 (Bankr. E.D. Va. 1996)).
  “Notwithstanding the three prongs of § 350(b), it is axiomatic that the court has final discretion in
  deciding whether to reopen a case.” Id. (citing In re Shelton, 201 B.R. 147, 151 (Bankr. E.D. Va.
  1996)) (additional citations omitted). “[A] court will invoke its discretion and deny the reopening
  of a bankruptcy case ‘where it appears that to do so would be futile and a waste of judicial
  resources.’” Id. (citing In re Carberry, 186 B.R. 401, 402 (Bankr. E.D. Va. 1995)).

          The court also considers the competing interests that might weigh against reopening a case,
  including the element of certainty and finality of orders and prejudice to both the debtor and his
  creditors with respect to actions taken in reliance on those orders. See generally Reid v.
  Richardson, 304 F.2d 351, 355 (4th Cir. 1962). As noted in Parson,

         “Before reopening a case, the court should make the threshold determination that
         one of the three grounds articulated in § 350(b) exists.” In re Lee, 356 B.R. 177,
         180 (Bankr. N.D.W. Va. 2006). Among the factors that courts consider when

         1
           Mr. McCowan’s discharge was entered on November 4, 2010. Dkt. 111.
         2
           Bank of America has amended its state court complaint to remove its request for a judgment
  against Mr. McCowan in light of the discharge of his personal liability on the debt.
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          making a determination under § 350(b) are the delay between the closing of the
          case and the motion to reopen as well as the prejudice that it would cause to
          nonmovant. See, e.g., Reid, 304 F.2d at 355; In re Paul, 194 B.R. 381, 383 (Bankr.
          D.S.C. 1995). To grant a motion to reopen “[t]he moving party must demonstrate
          that there is a compelling cause. There is no cause if reopening would serve no
          purpose.” Horizon Aviation of Va., Inc. v. Alexander, 296 B.R. 380, 382 (E.D. Va.
          2003) (citing In re Carberry, 186 B.R. at 403).

  Parson, 2007 WL 3306678, *7

          At the hearing, the court observed that if the trustee has no ability to revoke the
  abandonment of an asset, then reopening the case might serve no purpose. Thus, consideration of
  whether an asset may ever be “un-abandoned” informs the court’s decision as to whether the first
  basis for reopening in § 350(b) exists.

          “It is a principle of uniform application that once an asset of the estate has been abandoned
  by the trustee, it is no longer part of the estate and is effectively beyond the reach and control of
  the trustee.” In re Sutton, 10 B.R. 737 (Bankr. E.D. Va. 1981) (citing In re Polumbo, 271 F. Supp.
  640 (W.D. Va. 1967)). However,

          [t]here are but two principal exceptions to the above-referenced rule of
          irrevocability of abandonment under applicable law. Property will not be deemed
          to have been abandoned by the trustee where it was actually concealed from him or
          where his knowledge of the existence of the property was one of mere suspicion,
          which engendered only a cursory investigation. The rule also is not applicable in
          those situations where the property is unscheduled by the debtor, thus preventing
          the trustee from having “‘knowledge, or sufficient means of knowledge, of its
          existence.’”

  Id. (citing LaRoche v. Tarpley, 4 B.R. 145, 146 (Bankr. M.D. Tenn. 1980); Dushane v. Beall, 161
  U.S. 513, 516, 16 S. Ct. 637, 639, 40 L. Ed. 791 (1896)).

          The law on abandonment (and the ability to revoke an abandonment) dates back to the
  Bankruptcy Act, and cases under the Act remain instructive. In In re Lintz West Side Lumber, Inc.,
  655 F.2d 786, 790-91 (7th Cir. 1987), the trustee obtained an order authorizing abandonment of
  certain property to secured creditors. Several months later, the trustee sought to set aside the order
  of abandonment after discovering a defect in the financing statement. The court vacated the
  abandonment, and the circuit court affirmed.3 The circuit court distinguished cases disallowing the
  revocation of an abandonment where the trustee later discovered that abandoned property was
  worth more than expected, as was the case it Sutton.

          3
             This case is procedurally unusual; the bankruptcy judge who entered the abandonment order was
  elevated to the district court, and entered the order vacating the abandonment as a district court judge. As a
  result, the initial appeal of that order went to circuit court and not the district court, which typically hears
  appeals from the bankruptcy court.
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         In the instant case, however, the trustee is not attempting to reclaim abandoned
         property which has undergone an unanticipated increase in value or to unfairly
         prejudice the purported secured party and owner of the property following
         abandonment. The trustee is merely attempting to correct the erroneous distribution
         of property by abandonment to a creditor with a security interest which has
         subsequently been shown to be unperfected throughout. Under these circumstances,
         where there has been a mistake in the original abandonment and where the
         purported secured creditor has not been unfairly prejudiced, we do not believe that
         the bankruptcy judge is precluded from reconsidering the entry of such an order
         setting aside a prior abandonment order.

  Lintz, 655 F.2d at 790-91.

          Lintz is cited favorably in the more recent case of In re Elsemore, No. 10-15229-7 (Bankr.
  E.D. Wisc. April 14, 2011) (unpublished), which noted that reconsideration may be appropriate
  even where the initial decision to abandon property was not due to inattention or carelessness on
  the part of the trustee, and where the relevant information was actually available to the trustee. In
  other words, even where the trustee made a deliberate decision to abandon property, the
  abandonment can be revoked if the decision was based on a mistake and where there is no unfair
  prejudice to the debtor or the impacted secured creditor.

          Based on the cited case law, it appears that the court could allow a trustee to revoke an
  abandonment of property under appropriate circumstances. Here, it is not the trustee who seeks to
  reopen and administer the asset, but the debtor. The trustee was discharged when the final decree
  was entered in February 2011. He currently has no authority or protection and thus has not
  evaluated or provided an opinion as to whether the abandonment should be revisited. The court
  finds that the trustee ought to have an opportunity to review this matter with the imprimatur of the
  court to determine whether abandonment was in error and whether he wishes to seek revocation
  of the abandonment.4 Further, the court is concerned by the events that have transpired since the
  court first heard this matter, and believes trustee review would be valuable. Given these concerns,
  the court finds that not only should the case be reopened for the purpose of determining whether
  there is an asset to administer, but also for “other cause” as contemplated by § 350.

          Finally, the court finds no prejudice to Bank of America if the case is reopened. While
  Bank of America has filed an action to impose a lien on the Property (possibly in reliance on the
  abandonment, but possibly not given that the complaint initially sought a judgment against Mr.
  McCowan for the discharged debt), it was that action that prompted Mr. McCowan to seek relief
  from this court. The time between the closing of the case and the motion to reopen was largely
  matched by the time between the closing of the case and Bank of America’s filing of the state court
  action. That action, the purpose of which is to grant Bank of America rights that it may not have


         4
          The court expresses no opinion as to whether the trustee should seek revocation of the
  abandonment of the Property or whether it would allow the revocation if sought.
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  had when the petition was filed, has been stayed pending resolution of this matter such that no
  additional costs will be incurred in that litigation while this matter is considered by this court.

          Based on the foregoing, and in the court’s discretion, the motion to reopen is ALLOWED,
  and Mr. Crampton will be reappointed as chapter 7 trustee to take whatever action he deems
  appropriate. The automatic stay is reimposed, and will act as a continuing stay of the state court
  action.

                                      END OF DOCUMENT




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                                EXHIBIT "B"
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                                 CERTIFICATE OF SERVICE

        It is hereby certified that the foregoing TRUSTEE’S MOTION TO REVOKE
 ABANDONMENT OF REAL PROPERTY and the NOTICE OF TRUSTEE’S MOTION
 was served this day via CM/ECF electronic e-mail service as indicated below or by depositing a
 copy of the same in the United States mail bearing sufficient postage:

        Marjorie K. Lynch                           VIA CM/ECF EMAIL SERVICE ONLY
        Bankruptcy Administrator                    William P. Janvier
        434 Fayetteville Street, Suite 640          Attorneys for Debtor
        Raleigh, NC 27601                           Janvier Law Firm, PLLC
                                                    311 East Edenton Street
                                                    Raleigh, NC 27601-1017

        Rodney Allen McCowan                        Jason Kenneth Purser
        1436 Cabrillo Avenue                        Attorney for Bank of America, N.A.
        Burlingame, CA 94010-4709                   Shapiro & Ingle, LLP
                                                    10130 Perimeter Parkway, Suite 400
                                                    Charlotte, NC 28216-0034

        VIA CM/ECF EMAIL SERVICE ONLY
        Scott P. Vaughn
        Attorney for Bank of America, N.A.
        McGuireWoods LLP
        PO Box 31247
        Charlotte, NC 28231-1247

        Bank of America, N.A. fka Countrywide Home
        Attn: Managing Agent
        7105 Corporate Drive
        Plano, TX 75024

        Bank of America, N.A.
        Attn: Managing Agent
        160 Mine Lake Ct. Ste 200
        Raleigh, NC 27615

                This the 29th day of September, 2017.

                                                    s/Phyllis W. Hill
                                                    Phyllis W. Hill
                                                    Paralegal
                                                    Nicholls & Crampton, P.A.
                                                    P. O. Box 18237
                                                    Raleigh, NC 27619
  
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                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                RALEIGH DIVISION

 IN RE:                                                       CHAPTER 7

 McCOWAN, RODNEY ALLEN,                                       CASE NO. 09-10347-8-SWH

        Debtor.

                              NOTICE OF TRUSTEE’S MOTION

 TO:    ALL CREDITORS AND INTERESTED PARTIES
        NOTICE IS HEREBY GIVEN of the TRUSTEE’S MOTION TO REVOKE
 ABANDONMENT OF REAL PROPERTY (“Motion”) filed simultaneously herewith by
 Gregory B. Crampton, Chapter 7 Trustee in the above-captioned bankruptcy case (“Trustee”),
 seeking entry of an Order revoking the Chapter 7 Trustee’s prior abandonment of certain real
 property owned by the Debtor known as 1211 Champions Pointe Drive, Durham, North Carolina
 27715 so that such real property can be administered in the bankruptcy case.

         FURTHER NOTICE IS HEREBY GIVEN that any objection to the Motion must be filed
 with the Clerk, United States Bankruptcy Court, Post Office Box 791, Raleigh, NC 27602, with a
 copy served on the Trustee whose name appears at the bottom of this Notice, within
 FOURTEEN (14) DAYS of the date of the mailing of this Notice. No hearing will be conducted
 on said objection unless the Court, in its discretion, deems a hearing necessary, or unless a party
 in interest requests a hearing. Any party requesting a hearing shall appear at the hearing in
 support of such request or he may be assessed with costs.
 DATED: September 29, 2017.
                                                      s/ Gregory B. Crampton
                                                      Gregory B. Crampton
                                                      State Bar #991
                                                      Steven C. Newton, II
                                                      State Bar #44656
                                                      NICHOLLS & CRAMPTON, P.A.
                                                      Post Office Box 18237
                                                      Raleigh, North Carolina 27619
                                                      Telephone: (919) 781-1311
                                                      Attorneys for Chapter 7 Trustee




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                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                RALEIGH DIVISION

 IN RE:                                                        CHAPTER 7

 McCOWAN, RODNEY ALLEN,                                        CASE NO. 09-10347-8-SWH

        Debtor.


                                 CERTIFICATE OF MAILING
        I, Phyllis W. Hill, of Nicholls & Crampton, P.A., Post Office Box 18237, Raleigh, North
 Carolina certify:
        That on the 29th day of September, 2017, I mailed copies of the foregoing NOTICE OF
 TRUSTEE’S MOTION to each creditor appearing in this case file as shown on the attached
 Mailing Matrix on file in the office of the Clerk of Court and to those parties as set out on
 Exhibit 1 attached hereto by placing said copies in a depository of the United States Mail,
 postage prepaid.
        I certify under penalty of perjury that the foregoing is true and correct.
        This the 29th day of September, 2017.
                                               s/Phyllis W. Hill
                                               Phyllis W. Hill, Paralegal
                                               NICHOLLS & CRAMPTON, P.A.
                                               Post Office Box 18237
                                               Raleigh, North Carolina 27619
                                               Telephone: (919) 781-1311




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(p)BANK OF AMERICA                       (p)BANKRUPTCY ADMINISTRATOR EDNC     (p)BMW FINANCIAL SERVICES
PO BOX 982238                            434 FAYETTEVILLE STREET              CUSTOMER SERVICE CENTER
EL PASO TX 79998-2238                    SUITE 640                            PO BOX 3608
                                         RALEIGH NC 27601-1888                DUBLIN OH 43016-0306




(p)DISCOVER FINANCIAL SERVICES LLC       (p)INTERNAL REVENUE SERVICE          (p)KROSS LIEBERMAN AND STONE INC
PO BOX 3025                              CENTRALIZED INSOLVENCY OPERATIONS    PO BOX 565
NEW ALBANY OH 43054-3025                 PO BOX 7346                          MORRISVILLE NC 27560-0565
                                         PHILADELPHIA PA 19101-7346




(p)TOYOTA MOTOR CREDIT CORPORATION       (p)WACHOVIA BANK NA                  AAC Credit Union
PO BOX 8026                              MAC X2303-01A                        Attn: Managing Agent
CEDAR RAPIDS IA 52408-8026               1 HOME CAMPUS                        904 Broadway Avenue NW
                                         1ST FLOOR                            Grand Rapids, MI 49504-4477
                                         DES MOINES IA 50328-0001


VIA CM/ECF EMAIL SERVICE ONLY            Absolute Collection Services         Alice Marie Crawford
Aaron J. Nash                            Attn: Managing Agent                 7501 SW Cherokee Ave.
Hale Dewey Knight, PLLC                  421 Fayetteville Street Mall #600    Lawton, OK 73505-6412
88 Union Avenue, Suite 700               Raleigh, NC 27601-1777
Memphis, TN 38103-5128


American Express                         American Express Centurion Bank      BAC Home Loans Servicing, LP fka Countrywide
Attn: Managing Agent                     c/o Becket and Lee LLP               7105 Corporate Drive
PO Box 650448                            POB 3001                             Plano, TX 75024-4100
Dallas, TX 75265-0448                    Malvern PA 19355-0701




Bald Head Association                    Bank of America                      Bank of America
Attn: Managing Agent                     PO Box 537102                        Attn: Managing Agent
PO Box 3030                              Atlanta, GA 30353-7102               PO Box 21848
Southport, NC 28461-7000                                                      Greensboro, NC 27420-1848




Bank of America                          Bank of America                      Bank of America, N.A.
Attn: Managing Agent                     Attn: Managing Agent                 P. O. Box 26012
475 CrossPoint Parkway, PO Box 9000      101 North Tryon Street               NC4-105-03-14
Getzville, NY 14068-9000                 Charlotte, NC 28255-0001             Greensboro, NC 27420-6012




VIA CM/ECF EMAIL SERVICE ONLY            Barry Mann                           BMW Financial Services NA LLC
Bank of America, N.A.                    Mannin, Fulton & Skinner             Hale, Dewey & Knight, PLLC
c/o Scott P. Vaughn                      PO Box 20389                         88 Union Avenue, Suite
McGuireWoods LLP                         Raleigh, NC 27619-0389               Memphis, TN 38103-5126
PO Box 31247
Charlotte, NC 28231-1247

Brandon McCowan                          VIA CM/ECF EMAIL SERVICE ONLY        Brunswick County Revenue
PO Box 90102                             Brian Behr                           Attention: J Therrien
Raleigh, NC 27675-0102                   Bankruptcy Administrator, EDNC       P.O. Box 29
                                         434 Fayetteville Street, Suite 640   Bolivia, NC 28422-0029
                                         Raleigh, NC 27601-1888


Chase / Circuit City                     Corning FCU                          County of Brunswick
Attn: Managing Agent                     Attn: Managing Agent                 Attn: Managing Agent
800 Brooksedge Boulevard                 One Credit Union Plaza               PO Box 29
Columbus, OH 43081-2822                  Corning, NY 14830-2857               Bolivia, NC 28422-0029
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County of Durham                    Credit Collection Service                 Direct Loans
Attn: Managing Agent                Two Wells Avenue                          Attn: Managing Agent
Post Office Box 3397                Dept. 9134                                PO Box 7202
Durham, NC 27702-3397               Newton Center, MA 02459-3225              Utica, NY 13504-7202




DISCOVER BANK                       Duke Primary Care                         Duke University Hospital
DFS Services LLC                    PO Box 70841                              Attn: Managing Agent
PO Box 3025                         Charlotte, NC 28272-0841                  P.O. Box 70841
New Albany, Ohio 43054-3025                                                   Charlotte, NC 28272-0841




Durham County Tax Office            Freddie Maryland                          GE Capital Credit Services
PO Box 3397                         4518 SW Atom                              Attn: Managing Agent
Durham, NC 27702-3397               Lawton, OK 73505-6824                     7905 Quivira Road
                                                                              Shawnee Mission, KS 66215-2732




J.L Watson                          VIA CM/ECF EMAIL SERVICE ONLY             VIA CM/ECF EMAIL SERVICE ONLY
Attn: Managing Agent                Jacob Christian Zweig                     Jason Kenneth Purser
1530 N.Gregson St.                  Evans Petree PC                           Shapiro & Ingle, LLP
Durham, NC 27701-1155               1000 Ridgeway Loop Road, Suite 200        10130 Perimeter Parkway, Suite 400
                                    Memphis, TN 38120-4036                    Charlotte, NC 28216-0034


Laurie Hayakawa                     Laurie Hayakawa                           Manning Fulton
1211 Champions Pt. Dr.              1211 Champions Point Dr.                  Attn: Barry D. Mann
Durham, NC 27712-9080               Durham, NC 27712-9080                     PO Box 20389
                                                                              Raleigh, NC 27619-0389




McGuire Woods                       VIA CM/ECF EMAIL SERVICE ONLY             NC Department of Revenue
PO Box 31247                        McGuire Woods                             Attn: Managing Agent
Charlotte, NC 28231-1247            Attn: Scott P. Vaughn                     PO Box 25000
                                    PO Box 31247                              Raleigh, NC 27640-0002
                                    Charlotte, NC 28231-1247


Palo Alto Medical Foundation        Private Diagnostics Clinic                RCS
Attn: Managing Agent                PO Box 900002                             PO Box 7229
PO Box 3757                         Raleigh, NC 27675-9000                    Westchester, IL 60154-7229
Sunnyvale, CA 94088-3757




VIA CM/ECF EMAIL SERVICE ONLY       Recovery Management Systems Corporation   Recovery Management Systems Corporation
Rebecca F. Redwine                  25 S.E. 2nd Avenue, Suite 1120            Attn: Michael A. DeGiovanni
Hendren Redwine & Malone, PLLC      Miami, FL 33131-1605                      25 S. E. Second Avenue
4600 Marriott Drive, Suite 150                                                Ingraham Building, Ste. 1120
Raleigh, NC 27612-3367                                                        Miami, FL 33151-1605


Revenue Production Mgmt., Inc.      RMS                                       Rodney Allen McCowan
Attn: Managing Agent                PO Box 539                                1436 Cabrillo Avenue
991 Oak Creek Drive                 Richfield, OH 44286-0539                  Burlingame, CA 94010-4709
Lombard, IL 60148-6408




Sallie Mae                          Sallie Mae                                Sallie Mae
c/o Sallie Mae Inc.                 Attn: Managing Agent                      Attn: Managing Agent
220 Lasley Ave.                     PO Box 9555                               PO Box 9500
Wilkes-Barre,PA 18706-1496          Wilkes Barre, PA 18773-9555               Wilkes Barre, PA 18773-9500
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                                                  18
VIA CM/ECF EMAIL SERVICE ONLY       VIA CM/ECF EMAIL SERVICE ONLY     VIA CM/ECF EMAIL SERVICE ONLY
Samantha Y. Moore                   Sarah D. Miranda                  Scott P. Vaughn
Janvier Law Firm, PLLC              Hutchens, Senter & Britton        McGuireWoods LLP
311 E Edenton Street                PO Box 2505                       PO Box 31247
Raleigh, NC 27601-1017              Fayetteville, NC 28302-2505       Charlotte, NC 28231-1247


VIA CM/ECF EMAIL SERVICE ONLY       Slater Tenaglia Fritz & Hunt      Stanford Hospital & Clinics
Sean Michael Corcoran               301 Third Street                  Attn: Managing Agent
Brock and Scott, PLLC               Ocean City, NJ 08226-4007         PO Box 60000
8757 Red Oak Blvd, Suite 150                                          San Francisco, CA 94160-0001
Charlotte, NC 28217-3977


Tharrington Smith                   US Department of Education        US Department of Education
Attn: Managing Agent                Direct Loan Servicing Center      Attn: Managing Agent
PO Box 1151                         PO Box 5609                       PO Box 530260
Raleigh, NC 27602-1151              Greenville, TX 75403-5609         Atlanta, GA 30353-0260




US Dept. of Education               Wachovia Bank, N. A.              Wachovia Bank, NA
PO Box 530260                       P.O. Box 13765-R4057-01P          Attn: Managing Agent
Atlanta, GA 30353-0260              Roanoke, Va 24037-3765            PA1327, 123 South Broad Street
                                                                      Philadelphia, PA 19109




Wachovia Dealer Services            Wells Fargo Bank, N.A.            Wells Fargo Loss Mitigation
Attn: Managing Agent                Sarah D. Miranda                  11601 N Black Canyon Hwy
PO Box 25341                        4317 Ramsey Street                2d Floor
Santa Ana, CA 92799-5341            PO Box 2505                       Phoenix, AZ 85029-3451
                                    Fayetteville, NC 28302-2505


WFS Financial                       VIA CM/ECF EMAIL SERVICE ONLY     VIA CM/ECF EMAIL SERVICE ONLY
Attn: Credit Bureau Dispute         William F. Braziel III            William P Janvier
PO Box 1697                         Janvier Law Firm, PLLC            Janvier Law Firm, PLLC
Winterville, NC 28590-1697          311 East Edenton Street           311 E Edenton Street
                                    Raleigh, NC 27601-1017            Raleigh, NC 27601-1017
